           Case 2:11-cr-00096-DC Document 195 Filed 07/26/13 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PAUL A. HEMESATH
     MICHAEL M. BECKWITH
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2932
 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: July 30, 2013
                                           )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Kenny
21   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez;
22   Olaf Hedberg, attorney for defendant German Velazquez; Dina Santos,
23   attorney for defendant Mauricio Portillo; and Gilbert Roque, attorney
24   for defendant Guadalupe Reyes-Ontiveros, that the previouslyscheduled
25   status conference date of July 30, 2013, be vacated and the matter
26   set for status conference on September 10, 2013, at 9:45 a.m.
27        This request is made jointly by the government and defense in
28   order to permit time for continued preparation, including

                                            1
           Case 2:11-cr-00096-DC Document 195 Filed 07/26/13 Page 2 of 3


 1   investigation, which is currently in progress, and plea negotiations.
 2    The parties agree that the interests of justice served by granting
 3   this continuance outweigh the best interests of the public and the
 4   defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
 5        Further, the parties agree and stipulate the ends of justice
 6   served by the granting of such a continuance outweigh the best
 7   interests of the public and the defendants in a speedy trial and that
 8   time within which the trial of this case must be commenced under the
 9   Speedy Trial Act should therefore be excluded under 18 U.S.C.
10   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
11   [complex case] and T4 [reasonable time for defense counsel to
12   prepare], from July 30, 2013, to and including September 10, 2013.
13
14
     Dated: July 26, 2013                    /s/ Paul Hemesath
15                                           Paul Hemesath
                                             Assistant United States Attorney
16                                           Counsel for Plaintiff
17
     Dated: July 26, 2013                    /s/ Donald Masuda
18                                           DONALD MASUDA
                                             Attorney for Defendant
19                                           IRMA GONZALEZ
20   Dated: July 26, 2013                    /s/ Olaf Hedberg
                                             OLAF HEDBERG
21                                           Attorney for Defendant
                                             GERMAN GONZALEZ VELAZQUEZ
22
     Dated: July 26, 2013                    /s/ Dina Santos
23                                           DINA SANTOS
                                             Attorney for Defendant
24                                           MAURICIO PORTILLO
25   Dated: July 26, 2013                    /s/ Gilbert Roque
                                             GILBERT ROQUE
26                                           Attorney for Defendant
                                             GUADALUPE REYES-ONTIVEROS
27
28

                                            2
           Case 2:11-cr-00096-DC Document 195 Filed 07/26/13 Page 3 of 3


 1                                     O R D E R
 2        The Court, having received, read, and considered the stipulation
 3   of the parties, and good cause appearing therefrom, adopts the
 4   stipulation of the parties in its entirety as its order.              Based on
 5   the stipulation of the parties and the recitation of facts contained
 6   therein, the Court finds that it is unreasonable to expect adequate
 7   preparation for pretrial proceedings and trial itself within the time
 8   limits established in 18 U.S.C. section 3161.         In addition, the Court
 9   specifically finds that the failure to grant a continuance in this
10   case would deny defense counsel to this stipulation reasonable time
11   necessary for effective preparation, taking into account the exercise
12   of due diligence.    The Court finds that the ends of justice to be
13   served by granting the requested continuance outweigh the best
14   interests of the public and the defendants in a speedy trial.
15        The Court orders that the time from July 30, 2013, up to and
16   including September 10, 2013, shall be excluded from computation of
17   time within which the trial of this case must be commenced under the
18   Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
19   (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
20   for defense counsel to prepare].      It is further ordered that the July
21   30, 2013, status conference shall be continued until September 10,
22   2013, at 9:45 a.m.
23
     Dated: 7/26/2013                        /s/ John A. Mendez
24                                           Hon. John A. Mendez
                                             United States District Court Judge
25
26
27
28

                                            3
